  Case 17-04040        Doc 6     Filed 10/13/17     Entered 10/13/17 17:11:14         Desc Main
                                    Document        Page 1 of 2


                           UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MASSACHUSETTS
                                   CENTRAL DIVISION



In re:                                        )
JOHN A. YELLIG, III, & PATRICIA A.            )
YELLIG                                        )        Case No. 17-41278
                                              )        Chapter 13
JOHN A. YELLIG, III,                          )
     Plaintiff,                               )        Adv. Proc. No. 17-04040
v.                                            )
                                              )
VETERANS INC.,                                )
     Defendant.                               )



                                  APPEARANCE OF COUNSEL

To:    The Clerk of Court and all parties of record:

       Please take notice that Alan D. Meyerson, Esq., 100 State Street, Ninth Floor, Boston, MA

02109, hereby enters his appearance as counsel for the Plaintiff, John A. Yellig, III, in the above-

captioned matter.

                                              Respectfully submitted,
                                              JOHN A. YELLIG, III
                                              By his Attorney,

Dated: October 13, 2017                       /s/ Alan D. Meyerson
                                              Alan D. Meyerson (BBO #682515)
                                              100 State Street, Ninth Floor
                                              Boston, MA 02109
                                              Tel: (617) 444-9525
                                              alan@alandavidmeyerson.com
  Case 17-04040      Doc 6    Filed 10/13/17    Entered 10/13/17 17:11:14      Desc Main
                                 Document       Page 2 of 2


                                    Certificate of Service

        I, Alan D. Meyerson, certify that, to the best of my knowledge, this document, filed
through the Court’s ECF system, will be sent electronically to the registered participants as
identified on the Notice of Electronic Filing (NEF) on October 13, 2017.



                                                  /s/ Alan D. Meyerson
                                                  Alan D. Meyerson
